Case 3:17-cv-00072-NKM-JCH Document 202 Filed 01/26/18 Page 1 of 1 Pageid#: 1029
                                                           cœ RK' s oFFlcE u.s,DIST. COURT
                                                                                ATCHARLOR ESVILE,VA
                                                                                       FILED
                                                                                  JA8 26 2212
                        IN THE UNITED STATES DISTRICT COURT                 JU       .U
                                                                                     '       CLERK
                            W E STE RN DISTR ICT O F V IR G IN IA          SY;         '    Z
                                                                                              K
  ELIZABETH SIN ES,eta1.,                      CaseN o.3:17-cv-00072-N K M

                 Plaintiffs,                   Hon.Norman K.M oon



 JASON KESSLER,eta1.

                 Defendants.


                          FR AT ERN A L O R DER O F ALT-K N IG H TS'
                     N O TIC E O F M O TIO N AN D M O TIO N TO D ISM ISS
                               (OM L ARGUM ENT REOUESTED)

         DefendantFraternalOrderofAlt-lonights(FOAK)respectfully movethisCourtpursuant
 toFederalRulesofCivilProcedure 12(b)(2)and 12(b)(6)foranOrder:
                Granting FOAK'Sm otion to dismissin itsentirety'
                                                               ,

                DismissingPlaintiffs'FirstAmendedComplaint(ECF l75).withprejudice;and
                A w arding FO AK 'S reasonable attolmeys' fees, expenses and cost incurred in

  bringing and defending this m otion.

         This motion is made on the grounds thatthis Courtlacks personaljurisdiction over
  FOAK.Fed.R.Civ.P.12(b)(2).And asfurtherdiscussedinthesupportmemorandum ofpoints
  and authorities,thecomplaintfailsto state a cognizable claim againstFOAK.. Fed.R .Civ.

  P.12(b)(6).Accordingly,FOAK l'espectfullymovesthis ourttodismissthisaction.
  D ated: January 26,2018
                                            ln Pro Per
                                            Kyle Chapm an
                                            c/o FraternalOrderofA lt-lonights
                                            52 LycettCircle
                                            D aly City,CA 94015
                                            kyleschapman@ yahoo.com
